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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

JEFF MULLEN,                              )
                                          )
           Plaintiff,                     )
                                          )
      v.                                  )         Case No. 4:20 CV 862 CDP
                                          )
CITY OF ST. LOUIS, MISSOURI,              )
et al.                                    )
                                          )
           Defendants.                    )

                                   JUDGMENT

      In accordance with the Memorandum and Order entered this same date,

      IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Counts

I, II, III, V, VI, and VII of plaintiff’s Amended Complaint are dismissed for failure

to state a claim.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that

Counts IV and VIII of plaintiff’s Amended Complaint are dismissed without

prejudice.



                                       ____________________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE

Dated this 10th day of December, 2021.
